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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                       Case No. 3:19-md-2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                             Judge M. Casey Rodgers
 This Document Relates to All Cases          Magistrate Judge Gary R. Jones


         PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON
              GOVERNMENT CONTRACTOR DEFENSE

      Pursuant to Federal Rule of Civil Procedure 56 and Pretrial Order No. 26

[Dkt. 987], Plaintiffs respectfully move this Court for an order granting Plaintiffs

summary judgment on Defendants’ government contractor defense. As set forth in

the accompanying memorandum of law, Plaintiffs are entitled to summary judgment

on this affirmative defense as to all claims asserted in the Master Complaint

[Dkt. 704]. This motion is based on the accompanying memorandum of law,

declaration, and exhibits in support of Plaintiffs’ motion for summary judgment, as

well as all the files, records, and prior proceedings herein.


                      REQUEST FOR ORAL ARGUMENT

      Plaintiffs do not believe that oral argument is necessary but are prepared to

present any amount of oral argument that would assist the Court.
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DATED: April 1, 2020

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                    CERTIFICATE OF COMPLIANCE
                    WITH LOCAL RULE 7.1(B) AND (C)

      Pursuant to Local Rule 7.1(B) and (C), counsel for Plaintiffs certify that on

January 28, 2020, among other dates, counsel for Plaintiffs and Defendants met and

conferred in good faith. They agreed to file cross-motions for summary judgment

on the government contractor defense.

                                         s/ Bryan F. Aylstock
                                         Bryan F. Aylstock




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 1, 2020, I caused a copy of the foregoing to be

filed through the Court’s CM/ECF system, which will serve all counsel of record.

                                         s/ Bryan F. Aylstock
                                         Bryan F. Aylstock




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